            Case 2:22-cv-01439-ROS Document 59-1 Filed 06/03/24 Page 1 of 7




 1   Brett E. Lewis (pro hac vice)
     Brett@iLawco.com
 2
     LEWIS & LIN LLC
 3   77 Sands Street, 6th Floor
     Brooklyn, NY 11201
 4
     Tel: (718) 243-9323
 5   Fax: (718) 243-9326
     Email: Brett@iLawco.com
 6
 7   Attorneys for Plaintiff Richard Blair
 8                           UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF ARIZONA
10
11
12   Richard Blair,                                    Case No.: 2:22-cv-01439-ROS
13
                   Plaintiff/Counter-Defendant,
14                                                     AFFIDAVIT OF RICHARD BLAIR IN
15   vs.                                               OPPOSITION TO MOTION FOR
                                                       SUMMARY JUDGMENT
16   Automobili Lamborghini S.p.A.,
17
                   Defendant/Counterclaimant.
18
19
20   I, Richard Charles Holmes Blair, a/k/a Lambo, hereby depose and state as follows:
21
22     1.   I have invested in domain names since 2009. I have developed some of the domain
23          names that I acquire, such as <ChineseCoins.com>, <Coinex.com>,
24          <Datafeed.com>, <Sociology.com>, and <Ceec.com>, and have sold others.
25     2.   In the past six years, I have financed and project-managed an international team
26          building internet gateway and search engine, (combining essential tools into a
27          single interface). Prior to this I was a professional coin dealer for ten years
28          specializing in modern Chinese numismatics.

                                                   1
          Case 2:22-cv-01439-ROS Document 59-1 Filed 06/03/24 Page 2 of 7




 1   3.   I currently own a portfolio of about 130 domain names. See Ex. A, Pl.’s Response
 2        to Def’s Interrogatories (dated Jan. 15, 2024), Attachment 1. Enclosed as Exhibit
 3        B is a list of my current domain name portfolio with the prices listed for sale for
 4        my domains.
 5   4.   My domain portfolio includes short domains with randomized combinations of
 6        letters or numbers, such as <11215.com>, <wywy.com>, <ceec.com>, and
 7        <nyip.com>. It also includes combinations of commonly-used words, such as
 8        <AsbestosLitigation.com>, <Babywalker.om>, <ComputerCase.com>,
 9        <InternetFilter.com>, <CigarRoller.com>, <FlyerDesign.com>,
10        <InvestorList.com>, and <LoveDomains.com>. See Exs. A, B.
11   5.   My acquisition strategy focuses on common, generic dictionary words and simple
12        alphanumeric combinations chosen for their broad applicability and inherent value
13        as generic terms. My consistent aim has been to engage in the legitimate
14        commercial use of non-specific, versatile domain names that have broad
15        applicability across various industries.
16   6.   To the best of my knowledge, none of the domain names in my portfolio infringe
17        upon any registered trademarks. I ensure that my domain acquisition practices
18        adhere to fair business standards, specifically avoiding any targeting or
19        capitalization on established trademarks.
20   7.   I have never intended to acquire domain names comprising words or phrases that
21        would infringe upon existing trademarks, and I conscientiously avoid registering
22        such domain names.
23   8.   I acquired the domain name <Lambo.com> because it is a brandable,
24        pronounceable, single-word dot-com domain name, which I initially thought
25        would be a good name to develop.
26   9.   The name “Lambo” resonated with me on a personal level and perfectly
27        encapsulated my identity and ethos. It represented a unique and distinctive name
28        that conveys individuality and non-conformity. The name’s versatility and strong,

                                                 2
          Case 2:22-cv-01439-ROS Document 59-1 Filed 06/03/24 Page 3 of 7




 1       memorable characteristics made it an ideal choice for creating a recognizable
 2       online presence.
 3   10. Prior to its acquisition on February 16, 2018, I searched for “lambo” on LinkedIn,
 4       the OpenCorporates website, the USPTO, and DotDB.com, which is my usual
 5       practice. These searches found many third-party uses of Lambo and several
 6       registered trademarks, none of which were registered to Lamborghini. Based on
 7       my diligence, and my experience in the field, I understood “Lambo” to be generic
 8       and available for various uses across industries.
 9   11. I determined that the vendor possessed lawful title to <lambo.com>, with
10       divestment and transferrable privileges to same. This was achieved by executing a
11       WHOIS lookup.
12   12. I believed that the marketplace <sedo.com> facilitated the fair and lawful
13       acquisition of title and property rights of <lambo.com> to any buyer meeting the
14       purchase requirements, including full payment of the asking price.
15   13. My work and interests were scheduled to be showcased on <lambo.com>. I
16       completed a WordPress installation and a landing page on May 2, 2019. See Ex.
17       C, Pl_000009 (landing page of <lambo.com>).
18   14. I subsequently decided to remain focused on developing <ceec.com> and resume
19       development of <lambo.com> at a later date. Since I develop the websites myself,
20       there are a limited number of projects that I can undertake at the same time. I have
21       been developing the <ceec.com> website and eventually completed work on the
22       website on May 10, 2024. The website for <ceec.com> shows that the website was
23       built by “Lambo.” See Ex. D, Pl_000087-Pl_000088 (website develop group and
24       history of <ceec.com>); Ex. E, Section 1.5 of the “Support” page of <ceec.com>
25       at https://ceec.com/support/.)
26   15. Once <Ceec.com> reaches certain development milestones, I plan to build
27       <lambo.com> into a blog and Ceec founder’s website. This site will offer tips,
28       tricks, and inspiration to others in the Ceec community, sharing insights from my

                                               3
          Case 2:22-cv-01439-ROS Document 59-1 Filed 06/03/24 Page 4 of 7




 1       experiences and fostering a supportive environment for individuals pursuing
 2       similar endeavors.
 3   16. In or around October 2019, I had the idea to use the name Lambo and the
 4       <Lambo.com> domain for my online identity. I adopted “Lambo” as a moniker or
 5       appellation because I felt that it suited me. I was drawn to it as a play on the word
 6       ‘Lamb, ’with an outlier generic aptitude and intelligence, hence ‘Lamb-O’. As I
 7       stated in a post on NamePros.com, I felt that I should use one of my domain
 8       names as a moniker to illustrate how domain names could be used as online
 9       identities. Ex. F, Pl_000378 (Blair’s post on NamePros.com dated Sept 17, 2020,
10       located at https://www.namepros.com/threads/i-am-lambo-q-a-anything-with-
11       me.1208769/post-795465).
12   17. I have an iconography in connection with “Lambo” as a stylized lamb with
13       protruding blue brain. I have consistently used the stylized lamb icon in
14       connection with my online moniker on different Internet platforms, including
15       WhatsApp (Ex. G, Pl_000548), Telegram (Ex. H, Pl_000536-Pl_000539), X.com
16       (formerly Twitter) (Ex. I, Pl_000541), and NamePros.com (Ex. J, Pl_000089),
17       since late 2019.
18   18. I am presently known by many thousands of people as “Lambo.”
19   19. I have been the editor of Based Science & Secrets <bss.org> since October 2022.
20       Several hundred people have presently volunteered their entry to this group and
21       only know me as “Lambo”. See Ex. H, Pl_000536-Pl_000539.
22   20. I have played over 5000 games of chess as “lambodotcom” on <lichess.org> as a
23       member since the 9th day of October 2019. See Ex. K, Pl_000086.
24   21. I am known by “Lambo” in private development groups with developers and a
25       system engineer. See Ex. D, Pl_000087-Pl_000088.
26   22. I am of repute and renown on <namepros.com>. This is an online community
27       purported to have over one million members, including domain name investors
28       and developers. My username is and has been “lambo.com” since late 2019. The

                                                4
          Case 2:22-cv-01439-ROS Document 59-1 Filed 06/03/24 Page 5 of 7




 1       link to my profile is https://www.namepros.com/members/lambo-com.964847. See
 2       Ex. J, Pl_000089.
 3   23. I am frequently addressed as “Lambo” among friends and family. This is realized
 4       orally and evidenced in emails and text messages. See, e.g, Ex. L, Pl_000533-
 5       Pl_000535; Pl_000545-Pl_000547.
 6   24. Not all my domain names listed for sale are actually for sale. See Ex. M,
 7       Pl_000377-Pl_000378 (Blair’s post on NamePros.com dated Sept 17, 2020,
 8       located at https://www.namepros.com/threads/i-am-lambo-q-a-anything-with-
 9       me.1208769/post-7954795). I list some of my domain names for what some might
10       consider to be exorbitant prices. For example, I listed <dnas.com> for sale for
11       $38,996,555, <newsmedia.com> for $4,355,874 and <cryptocorp.com> for
12       $7,999,999. See Ex. B.
13   25. I price domain names based on their worth to me, assigning high prices to
14       discourage offers for domains I do not wish to sell.
15   26. <Lambo.com> is integral to my identity and has become my personal name. To
16       discourage offers, I have assigned it the highest price among all my domain
17       names. Even after raising the price for <Lambo.com> to well above seven figures,
18       I continued to receive offers and subsequently increased the price to $75 million.
19   27. One might ask why I list a price for <Lambo.com> at all if I do not intend to sell
20       it. There are a lot of suitors for the domain name, who are demanding of my time
21       and attention. Some of them even start transactions on Escrow.com, without my
22       agreement. There would be even more unwanted activities if I did not list it for a
23       very high price.
24   28. Although I have responded to some offers to purchase <lambo.com>, none of my
25       responses have been serious. Since adopting Lambo as my nom de guerre, I have
26       never made any effort to negotiate a sale. To the contrary, I have only sought to
27       discourage offers by directing inquirers to the listed price.
28

                                                5
          Case 2:22-cv-01439-ROS Document 59-1 Filed 06/03/24 Page 6 of 7




 1   29. On April 17, 2023, I responded to an inquiry by stating that I “would be agreeable
 2       to a near all-cash offer if ready to close.” This was meant sarcastically. I do not
 3       fault opposing counsel for not understanding the dry British sense of humor, but I
 4       was not serious when I mentioned being amenable to a near all-cash offer of $50
 5       million from someone I believed to be a time waster. When the inquirer did not
 6       take the hint and continued pressing me for a sale price, I wished him the best and
 7       then ignored him. See Ex. P, Pl_000609.
 8   30. In contrast, I have sold some of my other domain names for prices ranging from a
 9       few hundred dollars to $500,000. See Ex. A at Attachment 1.
10   31. Most of these sales were facilitated through reputable platforms such as Namejet
11       Auction or Domain Agents, connecting me with third-party buyers. See id.
12   32. My interest in acquiring <Lambo.com> had nothing to do with Lamborghini. I did
13       not register the domain name with the intent to sell it to Lamborghini and have
14       never offered to sell the domain name to Lamborghini.
15   33. I have never used the domain name to divert users searching for Lamborghini to a
16       website with pay-per-click ads.
17   34. I did not register the domain name to prevent Lamborghini from representing its
18       trademark – which is LAMBORGHINI – in a domain name.
19   35. To my knowledge, Lamborghini does not use “Lambo” as a trademark. Their cars
20       are not advertised, marketed, or sold as “Lambos.” Lamborghini sells cars under
21       the name “Lamborghini.”
22   36. I have never before been accused of cybersquatting or received a cease and desist
23       letter.
24   37. I have never before been a party to a UDRP proceeding.
25   38. I have never been a party to an action under the Anti-Cybersquatting Consumer
26       Protection Act.
27   39. I did not provide false contact information when acquiring the domain name
28       <lambo.com>.

                                                6
             Case 2:22-cv-01439-ROS Document 59-1 Filed 06/03/24 Page 7 of 7




 1     40. I did not fail to maintain accurate contact information for <lambo.com> or any
 2          other of my domain names.
 3     41. For the times when <lambo.com> was directed to an operating website under
 4          construction, I did not provide any false or misleading contact information on the
 5          construction page. See Ex. C, Pl_000009.
 6
 7          I affirm this 3rd day of June, 2024, under the penalties of perjury under the laws of
 8   the United States, which may include a fine or imprisonment, that I am physically located
 9   outside the geographic boundaries of the United States, Puerto Rico, the United States
10   Virgin Islands, or any territory or insular possession subject to the jurisdiction of the
11   United States, that the foregoing is true, and I understand that his document may be filed
12   in an action or proceeding in a court of law.
13
14   Dated: June 3, 2024
15          London, United Kingdom
16
17
                                                           richard blair (Jun 3, 2024 20:26 GMT+1)
18                                                             ___________________________
19                                                             Richard Charles Holmes Blair
20
21
22
23
24
25
26
27
28

                                                     7
